
On petition for writ of certiorari to the United States Court of Appeals for the District of Columbia Circuit. Petitions in these cases seek review of the judgments of the United States Court of Appeals for the District of Columbia Circuit in Al-Najar v. Obama,No. 12-5401, 2013 WL 6767861 (CADC 2013), and Amanatullah v. Obama,No. 12-5407, 2013 WL 6767861 (CADC 2013). They do not seek review of judgments in Al-Maqaleh v. Hagel,No. 12-5404, 2013 WL 6767861 (CADC 2013), or Al Bakri v. Obama,No. 12-5399, 2013 WL 6767861 (CADC 2013), which were consolidated with petitioners' appeals. Subsequent to decisions of the court below, petitioners were transferred from custody of the United States to custody of other nations. As a result, these cases have become moot. Motion of petitioner in No. 14-6575 for leave to proceed n forma pauperisgranted. Petition for writ of certiorari granted. Judgments vacated with respect to these petitioners. See United States v. Munsingwear,340 U.S. 36, 71 S.Ct. 104, 95 L.Ed. 36 (1950); al-Marri v. Spagone,555 U.S. 1220, 129 S.Ct. 1545, 173 L.Ed.2d 671 (2009).
Justice KAGANtook no part in the consideration or decision of this petition.
